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               UNITED STATES DISTRICT COURT
               SOUTHERN DISTRICT OF GEORGIA
                     STATESBORO DIVISION

ELIJAH NAHtTh'l SIMMONS,

     Movant,
                                             Case No. CV613-112
                                                   CR61O-ODi
UNITED STATES OF AMERICA,

     Respondent.

                              ORDER
     After a careful de novo review of the record in this case, the Court

concurs with the Magistrate Judge's Report and Recommendation, to

which objections have been filed. Accordingly, the Report and

Recommendation of the Magistrate Judge is adopted as the opinion of the

Court.

     SO ORDERED this /9 day of                         , 2014.




                           B(AVANTEDENFTL1)
                           UNITED STATES DISTRICT
                           SOUTHERN DISTRICT OF
